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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA


  ELIZABETH SINES ET AL.,                      :       CASE NO: 3:17cv00072
                                               :       (J. Moon, Magistrate J. Hoppe)
                  Plaintiff                    :
                                               :
  vs.                                          :      SUGGESTION OF BANKRUPTCY
                                               :
  JASON KESSLER et al.,                        :
                                               :
                  Defendants                   :


  _____________________________________________________________________


          Notice is hereby given that defendant Nathan Damigo did file a Chapter 7 Bankruptcy

  petition on January 2, 2019. The petition was filed in the United States Bankruptcy Court for the

  Eastern District of California at Modesto and was assigned case number 19-90003.

          Pursuant to 11 USC §362(a) of the Bankruptcy Code, the filing of the bankruptcy petition

  operates as an automatic stay of “the commencement or continuation, including issuance or

  employment of process, of a judicial, administrative, or other action or proceeding against the

  debtor that was or could have been commenced before the commencement of the case under this

  title, or to recover a claim against the debtor that arose before the commencement of the case

  under this title, or to recover a claim against the debtor that arose before the commencement of

  the case under this title.”

          Defendant reserves his right to bring an action in the Bankruptcy Court for any violation

  of the automatic stay under said section 362(a).




                                               Respectfully Submitted,

                                               s/ James E. Kolenich PHV_______________
                                                James E. Kolenich
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                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served via the
  Court’s CM/ECF system on January 2, 2019. No party is entitled to or has requested
  service by other means.


                                                         s/ James E. Kolenich PHV
                                                         James E. Kolenich
